                           UNITED STATES
      Case:18-01254-EAG13 Doc#:107         BANKRUPTCY
                                    Filed:07/01/21      COURT
                                                   Entered:07/01/21 15:07:36   Desc: Main
                               DISTRICT
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  IN RE:                                         CASE NO. 18-01254-EAG
  ELBA IRIZARRY CASTRO
                                                     CHAPTER 13

             DEBTOR (S)



                                  Trustee's Position
  Regarding Debtor Motion for Approval of Settlement and Request that the Objection
                        Period be Shortened to Seven (7) Days


  TO THE HONORABLE COURT:

       NOW COMES José R. Carrión, Chapter 13 Trustee, through the undersigned and
  very respectfully alleges and prays:

        1. The Trustee has no opposition to:
   Debtor Motion for Approval of Settlement and Request that the Objection Period be
Shortened to Seven (7) Days.(Docket # 106 ).


       WHEREFORE the Trustee respectfully requests this Honorable Court to take
  notice of the abovementioned and enter the order it deems appropriate.


       CERTIFICATE OF SERVICE: The Chapter 13 Trustee herewith certified that a
  copy of this motion has been served on this same date, to their respective address
  of record to: Debtor(s), to their counsel and to all those parties in interest who
  have filed a notice of appearance by First Class Mail if not an ECFS register user.

           In San Juan, Puerto Rico this Thursday, July 1, 2021.




                                                    /s/ Alexandra Rodriguez -Staff
Attorney
                                                    JOSE R. CARRION
                                                    CHAPTER 13 TRUSTEE
                                                    P.O. Box 9023884, Old San Juan Sta.
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